                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
              Plaintiff,                         )
                                                 )
 v.                                              )    No.: 3:11-CR-129-TAV-CCS-10
                                                 )
 MICHAEL ANGELA POWERS,                          )
                                                 )
              Defendant.                         )


                             MEMORANDUM AND ORDER

       This criminal case is before the Court on the defendant’s motion for a sentence

 reduction [Doc. 338]. In the defendant’s motion, the defendant requests that the Court

 resentence her pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendment

 782 and Amendment 788 to the United States Sentencing Guidelines Manual. The

 government has responded [Doc. 339]. The government defers to the Court’s discretion

 whether and to what extent to grant any such reduction, subject to the limitations of 18

 U.S.C. § 3582(c)(2) and section 1B1.10 of the United States Sentencing Guidelines

 Manual.

 I.    Standard of Review

       “Federal courts are forbidden, as a general matter, to modify a term of

 imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

 exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

 and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):




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       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in section 3553(a) to
       the extent that they are applicable, if such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission.

 The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

 requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

 to a term of imprisonment based on a sentencing range that has subsequently been

 lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

 (6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

 [must be] consistent with applicable policy statements issued by the Sentencing

 Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

 that the defendant is eligible for a sentence reduction, then “[t]he court may then

 ‘consider whether the authorized reduction is warranted, either in whole or in part,

 according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

 946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment

 based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission, the Court must first determine “the amended guideline range that would

 have been applicable to the defendant had the relevant amendment been in effect at the

 time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

 citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

 than substituting Amendment 782 for the corresponding provision applicable when the
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 defendant was originally sentenced, the Court “shall leave all other guideline application

 decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

 imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

 term “less than the term of imprisonment the defendant has already served.” Id. §

 1B1.10(b)(2)(A), (C). Section 1B1.10 provides one exception to the rule that a defendant

 may not receive a sentence below the amended guideline range—namely, if the defendant

 originally received a below-guideline sentence “pursuant to a government motion to

 reflect the defendant’s substantial assistance to authorities.” U.S. Sentencing Guidelines

 § 1B1.10(b)(2)(B). In such cases, the Court may grant “a reduction comparably less than

 the amended guideline range.” Id.

       In addition to these limits, section 1B1.10 states that a court must also consider the

 § 3553 factors and the danger to the public created by any reduction in a defendant’s

 sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s post-sentencing

 conduct. Id.

 II.   Factual Background

       The defendant was convicted of conspiring to distribute and possess with intent to

 distribute oxycodone, in violation of 18 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) [Doc.

 235]. At the time of sentencing, the defendant was held responsible for distributing an

 amount of oxycodone equivalent to at least 1,000 kilograms of marijuana [Presentence

 Investigation Report (“PSR”) ¶ 12]. Given the amount of drugs for which the defendant

 was held responsible, the defendant’s base offense level was 32 [Id. ¶ 18]. After a four-

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 level role enhancement and a three-level reduction for acceptance of responsibility

 pursuant to section 3E1.1(a) and (b), the defendant’s total offense level was 33 [Id. ¶¶ 21,

 25–27]. Given the defendant’s criminal history category of I, the defendant’s applicable

 guideline range was 135 to 168 months’ imprisonment [Id. ¶¶ 33, 53].

        Before sentencing, the United States filed a motion for downward departure in

 light of the defendant’s substantial assistance.     The Court granted that motion and

 sentenced the defendant to ninety months’ imprisonment, which is thirty-three percent

 below the guidelines range [Doc. 235]. According to the government, the defendant is

 presently scheduled for release on May 26, 2017 [Doc. 339].

 III.   Analysis

        Amendment 782 to the Guidelines, which became effective on November 1, 2014,

 revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

 the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

 Sentencing Guidelines Manual App. C, amend. 782.            Amendment 782 also makes

 corresponding changes to section 2D1.11. Amendment 788, which became effective on

 November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

 Guidelines Manual App. C, amend. 788.

        Applying Amendment 782, the defendant’s revised base offense level is 30, and

 affording the defendant the same adjustments the defendant originally received, the

 defendant’s new total offense level is 31.       U.S. Sentencing Guidelines Manual §

 1B1.10(b)(1). A total offense level of 31 and a criminal history category of I results in an

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 amended guideline range of 108 to 135 months’ imprisonment. Thus, the defendant was

 sentenced to a term of imprisonment based on a sentencing range that has subsequently

 been lowered by the Sentencing Commission.

        Next, the Court must determine whether a sentence reduction is consistent with

 applicable policy statements issued by the Sentencing Commission. See U.S. Sentencing

 Guidelines Manual § 1B1.10.       “[T]o satisfy the second requirement, a guidelines

 amendment must have had the effect of lowering the defendant’s applicable guideline

 range.” Riley, 726 F.3d at 758 (internal quotation marks and citations omitted). As

 discussed, that is the case here. And it would be consistent with the applicable policy

 statements to sentence the defendant below the “minimum of the amended guideline

 range” because the defendant previously received a below-guidelines range sentence

 “pursuant to a government motion to reflect the defendant’s substantial assistance to

 authorities.” U.S. Sentencing Guidelines Manual § 1B1.10(b)(2)(A), (B).

        The Court will now consider the § 3553(a) factors in determining whether and to

 what extent the defendant’s sentence may be reduced.      As an initial matter, the Court

 determines that factors similar to the ones that applied at the defendant’s initial

 sentencing also apply at this time. Even so, in regard to these factors and in the context

 of the instant motion, the Court has considered the nature and circumstances of the

 defendant’s offense(s)—conspiring to distribute and possess with intent to distribute

 oxycodone—and the defendant’s role in the offense, as well as the defendant’s history

 and characteristics.

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        The Court has also considered the need for the sentence imposed to reflect the

 seriousness of the offense, to promote respect for the law, to provide just punishment for

 the offense, to afford adequate deterrence, to protect the public from further crimes of the

 defendant, and to provide the defendant with needed education and training, medical

 care, or other correctional treatment.1 Further, the Court has considered the kinds of

 sentences available and the sentencing range, the need to avoid unwarranted disparities,

 and the need to provide restitution to any victims. See 18 U.S.C. § 3553(a). And the

 Court has considered the danger to the public as the result of any reduction in the

 defendant’s sentence, the seriousness of the defendant’s offenses, and the need to protect

 the public. See U.S. Sentencing Guidelines Manual § 1B1.10, cmt. n.1(B)(ii).

        Regarding the defendant’s post-sentencing conduct, the Court notes the defendant

 has had one minor disciplinary infraction. She, however, has completed her GED and

 several other programs. She has also worked in Food Services and BAP PM Residential.

 Thus, the defendant’s post-sentencing conduct has been acceptable, and it does not

 appear that a sentence reduction will create an inordinate risk of danger to any person or

 the community. See U.S. Sentencing Guidelines Manual § 1B1.10, cmt. n.1(B).

        Accordingly, after considering section 1B1.10 and the relevant § 3553(a) factors,

 the Court finds a reduction in the defendant’s sentence to be appropriate. The Court will

 reduce the defendant’s sentence in accordance with the amended guidelines range and by


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          The Court, however, is not intending to, and is not, imposing or lengthening the
 defendant’s sentence to enable the defendant to complete a treatment program or otherwise
 promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
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 an amount “comparably less than the amended guideline range.”            U.S. Sentencing

 Guidelines Manual § 1B1.10(b)(2)(B).        In making this determination, the Court is

 particularly influenced by the changes in offense levels affected by Amendment 782.

 The Court has also taken into consideration the risk the defendant poses to public safety,

 the nature and circumstances of the defendant’s offense(s), the defendant’s personal

 characteristics, criminal history, and post-sentencing conduct.

 IV.    Conclusion

        For the reasons stated herein, the defendant’s motion [Doc. 338] is GRANTED

 and the defendant’s sentence is REDUCED to 72 months’ imprisonment.                If this

 sentence is less than the amount of time the defendant has already served, the sentence

 shall be reduced to a “time served” sentence. U.S. Sentencing Guidelines Manual §

 1B1.10(b)(2)(C).

        Except as otherwise provided in this order, all provisions of the judgment dated

 September 18, 2012 [Doc. 235], shall remain in effect. The effective date of this order is

 November 2, 2015. U.S. Sentencing Guidelines Manual § 1B1.10(e)(1).

        IT IS SO ORDERED.



                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




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